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1    1058095   Barrett Law Office, PA    Sendall        Joy                                              2:05-cv-01102-EEF-DEK
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2    1081601                            Kennerson      Diane                                             2:05-cv-02920-EEF-DEK
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3    1081600                            Thibodeaux     Lavel        A                                    2:05-cv-02920-EEF-DEK
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4    1108487   Bonsignore and Brewer    Richardson     Craig        B                                    2:06-cv-09743-EEF-DEK
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5    1052009     Branch Law Firm           Cole         Fred                                             2:06-cv-06438-EEF-DEK
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6    1052211     Branch Law Firm        Edmonson       Ronny                                             2:06-cv-06442-EEF-DEK
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7    1052337     Branch Law Firm         Gallaher     Dorothy                                            2:06-cv-06633-EEF-DEK
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8    1052773     Branch Law Firm          King        Patricia      A                                    2:06-cv-06439-EEF-DEK
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9    1052789     Branch Law Firm          Knight       Phyllis                                           2:06-cv-06441-EEF-DEK
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10   1094106    Carey & Danis, LLC      Ainsworth     Richard        J                                   2:06-cv-06652-EEF-DEK
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11   1094166    Carey & Danis, LLC        Austin      Lavenia                                            2:05-cv-06347-EEF-DEK
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12   1094202    Carey & Danis, LLC         Bass       Patricia                                           2:05-cv-05292-EEF-DEK
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13   1111894    Carey & Danis, LLC        Bisson        Jack                                             2:06-cv-03377-EEF-DEK
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14   1094303   Carey & Danis, LLC    Braley     Katherine                                            2:06-cv-01975-EEF-DEK
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15   1094306   Carey & Danis, LLC   Brancecum    Thomas                                              2:07-cv-00562-EEF-DEK
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16   1111874   Carey & Danis, LLC    Brown        Donna                                              2:05-cv-05309-EEF-DEK
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17   1094338   Carey & Danis, LLC    Brown       Lionell                                             2:06-cv-11442-EEF-DEK
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18   1094371   Carey & Danis, LLC    Burnett      Helen                                              2:06-cv-01973-EEF-DEK
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19   1094384   Carey & Danis, LLC    Burton       Bryan                                              2:06-cv-11441-EEF-DEK
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20   1094398   Carey & Danis, LLC    Calvert      Ricky                                              2:05-cv-04326-EEF-DEK
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21   1094414   Carey & Danis, LLC    Cantrell     Mary        Ann                                    2:05-cv-04325-EEF-DEK
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22   1094435   Carey & Danis, LLC     Casey      Barbara        J                                    2:05-cv-04324-EEF-DEK
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23   1111878   Carey & Danis, LLC   Champion      James                                              2:06-cv-06654-EEF-DEK
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24   1094453   Carey & Danis, LLC    Charlton    Richard                                             2:05-cv-05311-EEF-DEK
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25   1094455   Carey & Danis, LLC    Chavez       Joseph                                             2:06-cv-03368-EEF-DEK
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26   1094547   Carey & Danis, LLC    Council       Lisa                                              2:06-cv-06239-EEF-DEK
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27   1094572   Carey & Danis, LLC   Creviston     Norma                                             2:06-cv-06652-EEF-DEK
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28   1094626   Carey & Danis, LLC     Davis        Jean                                             2:06-cv-02104-EEF-DEK
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29   1094691   Carey & Danis, LLC   Donahue        May                                              2:05-cv-02930-EEF-DEK
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30   1094747   Carey & Danis, LLC    Dungy         Lula                                             2:06-cv-11442-EEF-DEK
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31   1111875   Carey & Danis, LLC    Edwards    Constance                                           2:05-cv-05312-EEF-DEK
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32   1094782   Carey & Danis, LLC   Etheridge     Alfred                                            2:06-cv-02002-EEF-DEK
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33   1094786   Carey & Danis, LLC     Evans       Yvette                                            2:06-cv-11441-EEF-DEK
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34   1111887   Carey & Danis, LLC     Foster       Ava        Jack                                  2:06-cv-02103-EEF-DEK
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35   1094829   Carey & Danis, LLC     Foster      Jimmy                                             2:05-cv-05309-EEF-DEK
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36   1094910   Carey & Danis, LLC   Gillespie    Pamela                                             2:05-cv-05311-EEF-DEK
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37   1094912   Carey & Danis, LLC    Gilliam      Kitty                                             2:05-cv-03815-EEF-DEK
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38   1094937   Carey & Danis, LLC     Grate       Linda                                             2:05-cv-02928-EEF-DEK
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39   1094942   Carey & Danis, LLC    Greear       Mary                                              2:05-cv-04326-EEF-DEK
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40   1095019   Carey & Danis, LLC    Hardcastle      Murrel                                            2:06-cv-03372-EEF-DEK
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41   1095034   Carey & Danis, LLC     Harrison       Evelyn                                            2:06-cv-10773-EEF-DEK
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42   1111889   Carey & Danis, LLC      Havens        Shirley                                           2:06-cv-11440-EEF-DEK
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43   1095051   Carey & Danis, LLC      Hayes          Lilli                                            2:05-cv-05311-EEF-DEK
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44   1095058   Carey & Danis, LLC      Heagle        Mary                                              2:05-cv-03414-EEF-DEK
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45   1095077   Carey & Danis, LLC      Henry         Mary                                              2:06-cv-10746-EEF-DEK
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46   1095132   Carey & Danis, LLC      House          Floy                                             2:05-cv-03808-EEF-DEK
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47   1095222   Carey & Danis, LLC     Jenkins         Eula                                             2:06-cv-06240-EEF-DEK
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48   1095225   Carey & Danis, LLC      Jessup        Frank        R                                    2:06-cv-03369-EEF-DEK
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49   1095259   Carey & Danis, LLC      Jones         Jacinta                                           2:06-cv-11441-EEF-DEK
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50   1095272   Carey & Danis, LLC      Jones        Williams                                           2:06-cv-01976-EEF-DEK
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51   1095282   Carey & Danis, LLC   Kanesouphonh   Somphone                                            2:06-cv-06239-EEF-DEK
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52   1095300   Carey & Danis, LLC      Kelley       Mildred       S                                    2:06-cv-03171-EEF-DEK
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53   1095327   Carey & Danis, LLC     Kiser      Gregory                                            2:06-cv-03370-EEF-DEK
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54   1095358   Carey & Danis, LLC     Lacey        Roy         E                                    2:06-cv-01976-EEF-DEK
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55   1095377   Carey & Danis, LLC     Lara       Ricardo       T                                    2:05-cv-05309-EEF-DEK
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56   1095403   Carey & Danis, LLC    Lemmon        Bill        M                                    2:05-cv-03811-EEF-DEK
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57   1095440   Carey & Danis, LLC     Locke      Maurice       A                                    2:06-cv-11444-EEF-DEK
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58   1095442   Carey & Danis, LLC     Locks      Dorothy                                            2:06-cv-11442-EEF-DEK
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59   1111872   Carey & Danis, LLC    Maddox      Theresa                                            2:05-cv-02581-EEF-DEK
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60   1095531   Carey & Danis, LLC     Mars        Kenna                                             2:06-cv-11068-EEF-DEK
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61   1095533   Carey & Danis, LLC    Martin      Barbara                                            2:06-cv-06652-EEF-DEK
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62   1095623   Carey & Danis, LLC    Medero      Lorraine                                           2:06-cv-03383-EEF-DEK
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63   1095732   Carey & Danis, LLC    Murphy      Rodney                                             2:05-cv-05309-EEF-DEK
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64   1095811   Carey & Danis, LLC    Orange       Anna                                              2:06-cv-06654-EEF-DEK
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65   1095862   Carey & Danis, LLC    Pearson      Oliver                                            2:05-cv-03414-EEF-DEK
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66   1095914   Carey & Danis, LLC     Poole        John                                              2:06-cv-11444-EEF-DEK
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67   1095961   Carey & Danis, LLC    Ramsay      William                                             2:05-cv-06735-EEF-DEK
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68   1096016   Carey & Danis, LLC    Rickett      Nancy                                              2:06-cv-03375-EEF-DEK
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69   1096058   Carey & Danis, LLC    Rogers      Jimmie                                              2:05-cv-04326-EEF-DEK
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70   1096098   Carey & Danis, LLC    Sanchez      Eliza                                              2:06-cv-06654-EEF-DEK
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71   1096105   Carey & Danis, LLC    Sanders      James                                              2:06-cv-03372-EEF-DEK
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72   1096118   Carey & Danis, LLC    Schafer      Steven     Albert                                  2:05-cv-04325-EEF-DEK
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73   1111870   Carey & Danis, LLC    Simpson     Earlene                                             2:05-cv-03851-EEF-DEK
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74   1096211   Carey & Danis, LLC     Smith       Janice                                             2:06-cv-10773-EEF-DEK
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75   1096236   Carey & Danis, LLC     Spann       Rosie       May                                    2:05-cv-05290-EEF-DEK
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76   1096266   Carey & Danis, LLC    Stewart      David                                              2:05-cv-04611-EEF-DEK
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77   1111879   Carey & Danis, LLC    Thomas      Claudie                                             2:05-cv-04326-EEF-DEK
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78   1096358   Carey & Danis, LLC    Thrasher    William                                             2:06-cv-11441-EEF-DEK
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79   1096388     Carey & Danis, LLC         Tuma       Theresa                                            2:05-cv-02566-EEF-DEK
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80   1096400     Carey & Danis, LLC        Umstead      Virgil                                            2:07-cv-02938-EEF-DEK
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81   1096407     Carey & Danis, LLC         Vance       Marie                                             2:06-cv-02102-EEF-DEK
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82   1111892     Carey & Danis, LLC        Vinson       Dallie                                            2:06-cv-03370-EEF-DEK
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83   1096446     Carey & Danis, LLC       Wagganer       Jill        C                                    2:05-cv-02568-EEF-DEK
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84   1096487     Carey & Danis, LLC        Watson       Alice                                             2:06-cv-03378-EEF-DEK
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85   1096524     Carey & Danis, LLC         White     Monnyeen       K                                    2:06-cv-03390-EEF-DEK
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86   1096566     Carey & Danis, LLC       Williams      Merritt                                           2:06-cv-03373-EEF-DEK
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87   1096626     Carey & Danis, LLC        Young       Barbara                                            2:05-cv-05301-EEF-DEK
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88   1108426    Colom Law Firm, The         Jones      Henretta                                           2:06-cv-09693-EEF-DEK
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89   1108430    Colom Law Firm, The        Lockett     William                                            2:06-cv-01660-EEF-DEK
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90   1023215   Coon, Brent & Associates     Byars      Kandyce       K                                    2:06-cv-07048-EEF-DEK
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91   1023322   Coon, Brent & Associates     Long       Barbara        J                                   2:06-cv-07048-EEF-DEK
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92    1104442   Gallagher Law Firm (TX)    Hawkins       Geneva                                             2:05-cv-04284-EEF-DEK
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93    1026321   Gancedo & Nieves LLP       Duncan         Lewis                                             2:06-cv-07084-EEF-DEK
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94    1112476    Garcia Law Firm, The       Morris        Mary                                              2:07-cv-02694-EEF-DEK
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95    1012975       Girardi & Keese       Chadwick         Tom                                              2:07-cv-06298-EEF-DEK
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96    1013320       Girardi & Keese         Lorne         Nadia                                             2:07-cv-06135-EEF-DEK
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97    1013447       Girardi & Keese       Pendergrass      Rita                                             2:07-cv-06138-EEF-DEK
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98    1106123       Girardi & Keese         Powell       Marilyn                                            2:06-cv-07112-EEF-DEK
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99    1082292   Harang, Jack W., APLC      Benbow         Queen                                             2:07-cv-06329-EEF-DEK
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100   1082293   Harang, Jack W., APLC        Bias         Essie                                             2:07-cv-06337-EEF-DEK
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101   1092278                              Canaleo        Rose                                              2:05-cv-06536-EEF-DEK
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102   1092279                              Conyers        Nona                                              2:05-cv-04806-EEF-DEK
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103   1085387                               Mollett       Elmo                                              2:06-cv-06941-EEF-DEK
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104   1092488     Lopez, McHugh LLP        Hofmann        Mary                                              2:06-cv-11068-EEF-DEK
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106   1083776     Matthews & Associates      Disbennett     Melvin       E                                    2:06-cv-06942-EEF-DEK
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107   1084291     Matthews & Associates       Salyers      Sydney        S                                    2:06-cv-07115-EEF-DEK
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108   1097984   Miller Firm, LLC, The (PA)    Barkell       Cindy                                             2:06-cv-05983-EEF-DEK
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109   1097987   Miller Firm, LLC, The (PA)     Bates        Mary         A                                    2:06-cv-05989-EEF-DEK
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110   1097997   Miller Firm, LLC, The (PA)   Blackmon       Brenda                                            2:06-cv-05992-EEF-DEK
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111   1098003   Miller Firm, LLC, The (PA)     Bodle       Gaynelle      T                                    2:06-cv-06958-EEF-DEK
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112   1098031   Miller Firm, LLC, The (PA)     Caton         Jill                                             2:06-cv-05991-EEF-DEK
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113   1098041   Miller Firm, LLC, The (PA)     Cline        Bobbie                                            2:06-cv-09712-EEF-DEK
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114   1098280   Miller Firm, LLC, The (PA)      Cox         Carol                                             2:06-cv-09712-EEF-DEK
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115   1098055   Miller Firm, LLC, The (PA)     Daley        Craig                                             2:06-cv-05990-EEF-DEK
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116   1098064   Miller Firm, LLC, The (PA)    Daykin       Thomas                                             2:06-cv-05990-EEF-DEK
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117   1098076   Miller Firm, LLC, The (PA)     Drake        Buford                                            2:06-cv-05984-EEF-DEK
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118   1098095   Miller Firm, LLC, The (PA)   Fitzgerald       Paul                                             2:06-cv-09826-EEF-DEK
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119   1098105   Miller Firm, LLC, The (PA)    George         Betty        B                                    2:06-cv-05992-EEF-DEK
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120   1098113   Miller Firm, LLC, The (PA) Glenn Daniels     Phyllis      A                                    2:06-cv-06964-EEF-DEK
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121   1098129   Miller Firm, LLC, The (PA)      Hall         Shirley                                           2:06-cv-05987-EEF-DEK
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122   1098170   Miller Firm, LLC, The (PA)     Jones         Mariti                                            2:06-cv-05999-EEF-DEK
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123   1098189   Miller Firm, LLC, The (PA)    Layton         Gloria                                            2:06-cv-05984-EEF-DEK
                                                                                       Merck & Co., Inc.
                                                                                  Bates, Mary A. v. Merck &
124   1098192   Miller Firm, LLC, The (PA)      Lee         Deauna                                             2:06-cv-05989-EEF-DEK
                                                                                            Co., Inc.
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125   1098202   Miller Firm, LLC, The (PA)    Lingar        Patricia                                           2:06-cv-05994-EEF-DEK
                                                                                          & Co., Inc.
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126   1098214   Miller Firm, LLC, The (PA)   Marcelin       Albertha                                           2:07-cv-01827-EEF-DEK
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127   1098251   Miller Firm, LLC, The (PA)    Mizzelle       Joyce                                             2:06-cv-05988-EEF-DEK
                                                                                       Merck & Co., Inc.
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128   1098431   Miller Firm, LLC, The (PA)   Mondroski      Charles                                            2:06-cv-05999-EEF-DEK
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129   1098261   Miller Firm, LLC, The (PA)     Myers         Joseph                                            2:06-cv-05990-EEF-DEK
                                                                                            Co., Inc.
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130   1098263   Miller Firm, LLC, The (PA)     Myers          Tina                                             2:06-cv-06964-EEF-DEK
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131   1098286   Miller Firm, LLC, The (PA)    Pittman       Emma        Jean                                 2:06-cv-05987-EEF-DEK
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132   1098306   Miller Firm, LLC, The (PA)     Reem         Karen                                            2:06-cv-05983-EEF-DEK
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133   1098334   Miller Firm, LLC, The (PA)    Sheets       Charles                                           2:06-cv-05990-EEF-DEK
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134   1098341   Miller Firm, LLC, The (PA)     Smith        Grace                                            2:06-cv-05989-EEF-DEK
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135   1098354   Miller Firm, LLC, The (PA)    Stoner        Kathy                                            2:06-cv-05992-EEF-DEK
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136   1098362   Miller Firm, LLC, The (PA)     Taden        Janett                                           2:06-cv-05989-EEF-DEK
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137   1098380   Miller Firm, LLC, The (PA)     Tierce       Glynn                                            2:06-cv-05987-EEF-DEK
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138   1098429   Miller Firm, LLC, The (PA) Zeehandelaar    Edward                                            2:06-cv-05997-EEF-DEK
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139   1112073       Myers and Perfater        Burger        Olivia                                           2:06-cv-10416-EEF-DEK
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                                                                                   Thompson, Thomas v.
140   1112077       Myers and Perfater       Thompson      Thomas                                            2:06-cv-10377-EEF-DEK
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141   1112079       Myers and Perfater        Wright        Donna                                            2:06-cv-10392-EEF-DEK
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142   1062927       Nevin & Absalom            Carter      Kathleen                                          2:05-cv-05068-EEF-DEK
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143   1104334                                 Jackson      Cynthia                                           2:05-cv-06330-EEF-DEK
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144   1104335                             Johnson     Samuel                                             2:05-cv-06330-EEF-DEK
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145   1047286    Singleton Law Firm        Toups       James                                             2:06-cv-02662-EEF-DEK
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146   1108895                              Davis       Mary                                              2:05-cv-05118-EEF-DEK
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                Weykamp, Paul A., Law                                         Hennemuth, Patrick v.
147   1108900                            Hennemuth     Patrick                                           2:05-cv-05120-EEF-DEK
                     Offices of                                                 Merck & Co., Inc.
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148   1108905                             Langley       Jerry                                            2:05-cv-05095-EEF-DEK
                     Offices of                                                      Co., Inc.
                Weykamp, Paul A., Law                                         Macijeski, Mary A. v.
149   1108908                            Macijeski     Mary       Annie                                  2:05-cv-05098-EEF-DEK
                     Offices of                                                 Merck & Co., Inc.
                Weykamp, Paul A., Law                                       McKenith, James v. Merck
150   1108910                            McKenith      James                                             2:05-cv-05110-EEF-DEK
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                Weykamp, Paul A., Law                                       Wilson, Nora v. Merck &
151   1108919                             Wilson        Nora                                             2:05-cv-05105-EEF-DEK
                     Offices of                                                      Co., Inc.
